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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

    CONVERGEN ENERGY LLC, et al.,
                                Plaintiffs,              Civil Action No. 20-cv-3746 (LJL)
                 -v-
    STEVEN J. BROOKS, et al.,
                                Defendants.



DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION

         Plaintiffs readily acknowledge and concede in their Motion for Reconsideration

(“Motion”) that they had the same facts regarding alleged “co-conspirator” Fidel Andueza (who

curiously still remains as Libra’s Chief Investment Officer and a member of Libra’s Executive

Team1)—and could have made the same argument (i.e., that Mr. Andueza lacked the authority to

sign the Supply Agreement on behalf of Plaintiffs) they now set forth in their Motion for the first

time—when briefing their Motion to Stay (Dkt. Nos. 63-65): “Plaintiffs acknowledge that, in their

briefing on the motion to stay, they did not alert the Court to their contention (which was reflected

elsewhere in the record before the Court) that Mr. Andueza was part of the conspiracy to defraud

Plaintiffs” (Mot. at 1); “[t]he record before the Court in this action and the related actions reflects

Plaintiffs’ contention that Mr. Andueza conspired with Mr. Brooks to defraud Plaintiffs. . .

Plaintiffs’ briefing on their motion to stay the arbitration should have (but did not) alert the Court


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     See     Mr.      Andueza’s      web      page    on     Libra’s   website,     available    at
https://www.libra.com/en/management/executive-team/fidel-andueza/ (last visited September 2,
2020). Rather than clearly identify Mr. Andueza as the current Chief Investment Officer of
Plaintiff Libra, Plaintiffs obliquely state that “Mr. Andueza is cooperating with Plaintiffs in the
investigation of this matter and thus had not been named as a defendant.” Mot. 3 n. 3. This oblique
phrasing presumably is designed to deflect scrutiny of the incredible argument Plaintiffs now
make: Libra’s current Chief Investment Officer is a co-conspirator who would be a named
Defendant but for the fact he still works for Libra and is a member of its Executive Team.
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to this fact” (id. at 2). Plaintiffs, of course, already possessed these facts months before they even

filed this action on May 14, 2020, let alone before they filed their Motion to Stay on June 23, 2020.

See Plaintiffs’ Proposed Am. Compl. (Dkt. No. 117-1) at ¶ 7 (“Andueza’s wrongdoing was

discovered around the same time as Brooks’ scheme”); cf. id. at ¶¶ 44-48 (alleging Plaintiffs

discovered Defendant Brooks’ “fraudulent scheme” on February 1, 2020, immediately after the

closing on January 31, 2020).

       However, Plaintiffs strategically chose not to disclose these facts and arguments for the

Court’s benefit when briefing its Motion to Stay (perhaps due to the perplexing circumstance that

Mr. Andueza is still employed by Libra notwithstanding Plaintiffs allegation he was “part of the

conspiracy to defraud Plaintiffs”). Similarly, Plaintiffs’ new and unsupported argument that

L’Anse had not been “taking delivery under the terms” (see Mot. at 2, 9-10) of the Supply

Agreement also reflects an argument that Plaintiffs could have made—but chose not to do so—

when briefing their Motion to Stay.

       Simply put, Plaintiffs strategically chose what not to include in the record before the Court,

at their own peril, when briefing their Motion to Stay. Accordingly, Plaintiffs’ current efforts to

seek a second bite at the apple are too little, too late, and Defendants respectfully request their

Motion for Reconsideration be denied for these reasons and the reasons set forth below.

                RELEVANT FACTUAL & PROCEDURAL BACKGROUND

       Plaintiffs filed this action on May 14, 2020. Dkt. No. 1. In their Complaint, Plaintiffs

reference “co-conspirators” of Defendant Steven J. Brooks on multiple occasions but do not

identify Mr. Andueza as one of them. See Compl. ¶¶ 4, 6-7. Plaintiffs’ Motion to Stay also alleged

that Defendant Brooks “colluded with accomplices,” but Plaintiffs did not identify Mr. Andueza

as one of those “accomplices” (Dkt. No. 65 at 3), though they easily could have.




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       In particular, Plaintiffs now concede that “the same day this [instant] action was filed”—

May 14, 2020—Plaintiffs were made aware of “a December 15, 2019 email from Mr. Brooks’

private Gmail account to Mr. Andueza’s private Hotmail account, secretly confirming that Mr.

Brooks and Mr. Andueza would together contribute $500,000 towards the $5.8 million purchase

price for the pellet plant.” Mot. at 2, (citing Decl. of D. Gold at ¶ 3). Although Plaintiffs describe

this email as “extraordinary,” they still chose not to mention it in support of their Motion to Stay—

filed more than a month later on June 23, 2020—notwithstanding the fact that Plaintiffs referenced

Mr. Andueza as an unidentified co-conspirator in another court filing Plaintiffs made the same day

the Motion to Stay was filed (June 23, 2020). Mot. at 2.

       It is only now, after the Court denied their Motion to Stay, that Plaintiffs throw their Hail

Mary: publicly identifying Libra’s own current Chief Investment Officer and Executive Team

Member as Defendant Brooks’ key “co-conspirator.” However, the clock has already run out on

Plaintiffs. Plaintiff’s Complaint alleges that the fraud was discovered February 1, 2020. (Dkt. No.

1 at ¶41). Consistently, Plaintiffs’ proposed Amended Complaint now alleges that Plaintiffs had

already identified Mr. Andueza as a co-conspirator, at the latest, in early February 2020. See

Plaintiffs’ Proposed Am. Compl. (Dkt. No. 117-1) at ¶ 7 (“Andueza’s wrongdoing was discovered

around the same time as Brooks’ scheme”); cf. id. at ¶¶ 44-48 (alleging Plaintiffs discovered

Defendant Brooks’ “fraudulent scheme” the day after closing, on February 1, 2020). As such, all

of the facts regarding Mr. Andueza Plaintiffs now allege in their Motion and the Amended

Complaint were known to Plaintiffs well before they briefed their Motion to Stay. Plaintiff’s prior

knowledge of the pertinent facts is demonstrated by including herein a relatively small part of their

Amended Complaint. The lengthiness of the following makes the point of the deep and extensive




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knowledge of Plaintiffs which reinforces their knowing and intentional decision to ignore certain

material facts until now: (emphasis added):

       Brooks also conspired with another senior officer of Plaintiffs, Fidel Andueza
       (“Andueza”), who himself was engaged in self-dealing in this and in another
       transaction against the interest of his employer. Brooks and Andueza agreed that
       they would conceal their self-dealing from Plaintiffs’ senior management. . . .
       unlike Brooks, Andueza opted to cooperate with Plaintiffs to mitigate the damage.

       At the Company, Brooks worked closely with Andueza, a senior officer at the
       Company’s New York office who was on medical leave for a large part of 2019
       after a life threatening accident. Over time, Brooks was elevated to the title of
       Senior Vice President, Investments, of the Group. Eventually and during the
       relevant time period, Brooks was directed to report directly to the Group’s most
       senior officer and not Andueza with regard to Convergen.

       In 2019, after Andueza suffered a near fatal accident that required him to go on
       disability for a good part of the year, Brooks stood as the sole Company executive
       trusted with overseeing these assets and ensuring that the strategic purposes for
       their acquisitions were achieved.

       In around October 2019, Brooks organized a secret tour (from New York) for
       himself and his co-conspirators, including Merle and Inchausti of the Pellet Plant
       in Wisconsin. Brooks led the tour with Hansen and Mikkelson’s assistance in
       furtherance of the conspiracy. Brooks, Merle, and Andueza concealed the tour and
       Inchausti’s participation from Plaintiffs and the other Defendants, namely Hansen
       and Merle knew that both Brooks and Andueza were conspiring to betray and
       defraud their employer. Andueza knew of Brooks’ conflicted interest but due to
       his own conflicts in another deal involving the Group (among other reasons) opted
       to maintain the secrecy of Brooks’ scheme.

       Andueza, in his own confession, has admitted to introducing one or more of the
       Spanish Investors to Brooks in connection with the Pellet Plant acquisition.

       As stated above, Brooks was able to execute his fraudulent scheme (and nearly get
       away with it) because in 2019 he was the senior most officer charged and trusted
       with vetting and overseeing these kinds of transactions. He also benefitted from
       the knowing assistance he received from Andueza, his colleague at the Group, as
       well as Hansen and Mikkelson, effectively counter-parties to the transactions.

       Andueza had been Brooks’ supervisor but on July 21, 2019, after Andueza had
       returned from his medical leave, Brooks was given autonomy and responsibility
       with respect to Convergen and other Group assets and agreed to report directly to
       the Group’s most senior officer regarding Convergen. Brooks’ fraudulent scheme
       took place during the period in which he was solely responsible for overseeing the



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Convergen assets. Therefore, any disclosures or discussions about the transaction
should have been made to the Group’s most senior officer; Brooks knew that he
was not following the Group’s directive. Brooks was also aware and took
advantage of the fact that the Group’s most senior officer had suffered a traumatic
brain injury and was plagued by post-concussion syndrome and was more reliant
on Brooks’ advice than in the past because of this medical condition.

Nevertheless, Brooks worked with Andueza to effectuate the fraud. Andueza
admitted that he had an agreement with Brooks not to disclose the conflict to the
Group’s senior management and he kept the secret. Andueza also introduced
Brooks to other investors, including the Spanish Defendants.

According to Brooks’ own email (discovered after this lawsuit was initiated),
Andueza also sought to financially benefit from the fraud by providing his own
funding for the purchase of the Pellet Plant. Specifically, a December 15, 2019
email from Brooks’ personal email to Andueza’s personal email evidences that
Andueza and Brooks intended to jointly contribute $500,000 in funding for the
Pellet Plant. The same email indicated Merle was supposed to receive an
“arrangement fee” of $50,000 presumably for pretending to be the buyer in Brooks’
fraudulent scheme. None of this was disclosed to Plaintiffs; the use of personal as
opposed to corporate emails highlights the secretive nature of the conspiracy. Had
Plaintiffs known the truth about their employees’ fraudulent self-dealing, Plaintiffs
would never have agreed to sell the Pellet Plant – and certainly not under the terms
of the Acquisition and Supply agreements.

As a result of their fraudulent self-dealing, with Defendants’ knowledge, Brooks
and Andueza had no authority to bind Plaintiffs to any agreement they negotiated,
entered into, or signed on Plaintiffs’ behalf with Defendants. Accordingly, the
Supply Agreement and the Acquisition Agreement, signed by Andueza on behalf
of L’Anse and Convergen, respectively, never came into existence and are void ab
initio. L’Anse is in the process of transitioning to a new pellet supplier and, once
that is accomplished, will cease any further business relationship with CEW.

The investigation uncovered emails that unequivocally confirm Hansen and
Mikkelson’s knowledge of and roles in the fraudulent scheme. For example, a
September 12, 2019 email from Mikkelson to Brooks and copied to Hansen
indicates that he and Hansen knew of Brooks’ fundraising from the Spanish
Investors at around the time Brooks formally initiated the sale process with Niantic:
“Hola Tio Esteban [“Hello Uncle Steve], [Hansen] mentioned that you are in
Spain.” The above referenced email also reflects that Hansen intended to provide
$100,000 to fund the fraudulent acquisition. This too was not disclosed to Plaintiffs.

The Spanish Investors knew that Brooks was a senior officer of the Company, knew
that he was overseeing the sale of the Pellet Plant and was a financial stakeholder
in the buyer (Niantic). During the February 3rd taped confession, Brooks admitted




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       that the Spanish Investors had funded the fraudulent acquisition of the Pellet Plant.
       Upon information and belief, Brooks solicited the Spanish Investors on the basis
       that his double-dealing was expected to yield the Pellet Plant at a purchase price
       several million dollars below its fair market value. Brooks solicited investments
       from the Spanish Investors in September 2019, in and around the time he introduced
       Niantic to the Group. Upon information and belief, the Spanish Investors had
       extensive contacts with Brooks while he was in New York and employed by the
       Company in New York, and each wired funds directly or indirectly to New York
       for the fraudulent purchase of the Pellet Plant.

       Defendant Merle similarly knew of Brooks’ duplicity and the financial windfall he
       would achieve as a result. Neither he nor Brooks disclosed their long-standing
       personal relationship to anyone at the Group. In fact, they both took deliberate steps
       to keep their relationship a secret. The two exchanged very few emails via Brooks’
       Company email account and those limited exchanges were written in an obvious
       formal, contrived arms’ length manner. The lack of emails on a deal of this type
       and magnitude suggests that the parties engaged in discussions through some other
       clandestine means. Not surprisingly, the Company’s investigation uncovered
       emails between the two utilizing Brooks’ personal Gmail account. The Gmail
       account emails reflect the hidden personal relationship and stand in sharp contrast
       to the faux formal emails to and from Brooks’ Company email account. According
       to a personal email between Andueza and Brooks, Merle apparently was supposed
       to receive an “arrangement fee” of $50,000 presumably for pretending to be the
       buyer in Brooks’ fraudulent scheme. Indeed, in another recently discovered email,
       Brooks referred to Merle as a “close friend” in pitching an energy project of Merle’s
       to the above-referenced investment banker. None of this was disclosed to anyone
       at the Group, including during the meeting at which Merle was introduced to the
       Group’s principal in New York.

Dkt. 117-1 at ¶¶ 7, 30, 33, 36, 46, 55-58, 61-63. Plaintiffs have not identified any facts or

arguments they could not have cited or made while briefing their Motion to Stay.

                             APPLICABLE LEGAL STANDARD

       Motions for reconsideration or reargument are governed by Local Civil Rule 6.3 and Rule

60(b) of the Federal Rules of Civil Procedure. On a motion for reconsideration, “[n]o affidavits

shall be filed by any party unless directed by the Court.” L. C. Rule 6.3.2 Rule 60(b) provides as

follows:


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 Plaintiffs have filed two affidavits in support of their Motion (see Dkt. Nos. 120-121), without
having been directed to do so by the Court. Accordingly, Defendants request that the Court


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        On motion and just terms, the court may relieve a party or its legal representative
        from a final judgment, order, or proceeding for the following reasons: (1) mistake,
        inadvertence, surprise, or excusable neglect; (2) newly discovered evidence that,
        with reasonable diligence, could not have been discovered in time to move for a
        new trial under Rule 59(b); (3) fraud (whether previously called intrinsic or
        extrinsic), misrepresentation, or misconduct by opposing party; (4) the judgment is
        void; (5) the judgment has been satisfied, released or discharged; it is based on an
        earlier judgment that has been reversed or vacated; or applying it prospectively is
        no longer equitable; or (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b).3 Rule 60(b) affords “‘extraordinary judicial relief” that “can be granted

‘only upon a showing of exceptional circumstances.’” Kubicek v. Westchester Cty., No. 08 Civ.

372 (ER), 2014 WL 4898479, at *1 (S.D.N.Y. Sept. 30, 2014) (quoting Nemaizer v. Baker, 793

F.2d 58, 61, (2d Cir. 1986)). The reconsideration standard “is strict,” and reconsideration is

generally only granted upon a showing of “controlling decisions or data that the court

overlooked—matters, in other words, that might reasonably be expected to alter the conclusion

reached by the court.” Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995).

        It is well established that a motion for reconsideration “is not a vehicle for relitigating old

issues, presenting the case under new theories, securing a rehearing on the merits, or otherwise

taking a second bite at the apple.” Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36,

52 (2d Cir. 2012) (internal quotation marks and ellipsis omitted); SimplexGrinnell LP v. Integrated

Sys. & Power, Inc., 642 F. Supp. 2d 206, 210 (S.D.N.Y. 2009) (“A motion for reconsideration is

not an invitation to parties to ‘treat the court’s initial decision as the opening of a dialogue in which

that party may then use such a motion to advance new theories or adduce new evidence in response




disregard those affidavits. In compliance with Local Civil Rule 6.3, Defendants do not similarly
file affidavits with the Court in support of their opposition but request the opportunity to do so if
the Court does not disregard Plaintiffs’ affidavits and entertains additional evidentiary
submissions.
3
  Plaintiffs do not identify which of the six factors set forth in Rule 60(b), if any, provide a valid
basis for their Motion.


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to the court’s ruling.’”) (internal quotation and citations omitted); Polsby v. St. Martin's Press,

Inc., No. 97 Civ. 960 (MBM), 2000 WL 98057, at *1 (S.D.N.Y. Jan. 18, 2000) (a motion for

reconsideration is not a way to “advance new facts, issues or arguments not previously presented

to the Court”) (internal citation omitted). A motion for reconsideration is also not “an opportunity

for making new arguments that could have been previously advanced.” Associated Press v. U.S.

Dep't of Def., 395 F. Supp. 2d 17, 19 (S.D.N.Y. 2005). “The major grounds for justifying

reconsideration are ‘an intervening change in controlling law, the availability of new evidence, or

the need to correct a clear error or prevent manifest injustice.’” Terra Sec. ASA Konkursbo v.

Citigroup, Inc., 820 F. Supp. 2d 558, 560 (S.D.N.Y. 2011) (quoting Virgin Atl. Airways, Ltd. v.

Nat'l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992)).

       On a motion for reconsideration, the “moving party bears the burden of proof.” Freedom,

N.Y., Inc. v. United States, 438 F. Supp. 2d 457, 462 (S.D.N.Y. 2006). The decision to grant or

deny a motion for reconsideration is “within ‘the sound discretion of the district court.’” Premium

Sports Inc. v. Connell, No. 10 Civ. 3753 (KBF), 2012 WL 2878085, at *1 (S.D.N.Y. July 11, 2012)

(quoting Aczel v. Labonia, 584 F.3d 52, 61 (2d Cir. 2009)).

                                          ARGUMENT

       Here, the facts and arguments Plaintiffs now attempt to set forth before the Court regarding

Mr. Andueza—without exception—were all in Plaintiffs’ possession and control when they filed

their Motion to Stay. Those facts and arguments were readily capable of being submitted at that

time. Plaintiffs, however, simply chose not to set forth those facts and arguments in support of

their Motion to Stay. This deliberate choice is fatal to their Motion for Reconsideration. Under

Rule 60(b)(2), a party may not seek relief based on evidence that was not previously submitted to

the Court if the party reasonably could have presented the evidence, but chose not to. See Karimian




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v. Time Equities, Inc., No. 10-CV-3773 (AKH), 2013 WL 2254557, at *2 (S.D.N.Y. May 22, 2013)

(“A motion for reconsideration is not an opportunity to advance new facts, issues or arguments not

previously presented to the Court.”) (internal quotation marks omitted)); United States v. Potamkin

Cadillac Corp., 697 F.2d 491, 493 (2d Cir. 1983) (“In order to succeed on a motion pursuant to

Rule 60(b)(2), the movant must present evidence that is truly newly discovered or could not have

been found by due diligence.”) (internal quotation marks and ellipsis omitted)). In more colloquial

terms, “[ha]aving put all of its eggs in that basket, Plaintiffs are not now entitled to produce a

different basket.” Natasi & Associates, Inc. v. Bloomberg, No. 18-CV-12361, 2020 WL 2555281

* 1 (S.D.N.Y. May 20, 2020) (denying motion for reconsideration after concluding documents

movant submitted in support had already been in the movant’s possession—but not used—at the

time of the underlying briefing).

       Here, Plaintiffs clearly concede they strategically chose not to brief the Court on Mr.

Andueza’s alleged role as “co-conspirator” in support of their Motion to Stay: “Plaintiffs

acknowledge that, in their briefing on the motion to stay, they did not alert the Court to their

contention (which was reflected elsewhere in the record before the Court) that Mr. Andueza was

part of the conspiracy to defraud Plaintiffs” (Mot. at 1); “[t]he record before the Court in this action

and the related actions reflects Plaintiffs’ contention that Mr. Andueza conspired with Mr. Brooks

to defraud Plaintiffs. . . Plaintiffs’ briefing on their motion to stay the arbitration should have (but

did not) alert the Court to this fact” (id. at 2). Indeed, Plaintiffs now allege in their proposed

Amended Complaint that they already possessed these facts months before they even filed this

action on May 14, 2020, let alone before they briefed their Motion to Stay. See Plaintiff’s Proposed

Am. Compl. (Dkt. No. 117-1) at ¶ 7 (“Andueza’s wrongdoing was discovered around the same

time as Brooks’ scheme”); cf. id. at ¶¶ 44-48 (alleging Plaintiffs discovered Defendant Brooks’




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“fraudulent scheme” within a few days of the closing on January 31, 2020). As such, Plaintiffs’

purportedly “new” facts and arguments supporting their Motion for Reconsideration should be

disregarded by the Court lest the arbitration proceedings—first demanded by CEW on June 4,

2020—be further delayed to Defendants’ injury and detriment.         Contrary to the Plaintiffs’

suggestion, the Court did not “overlook” anything regarding Mr. Andueza (see Mot. at 6); rather,

the Plaintiffs deliberately hid Mr. Andueza’s newly-alleged role from the Court’s review.

       Yet even if the Court considered these newly disclosed facts and arguments regarding Mr.

Andueza, the Court’s denial of Plaintiffs’ Motion to Stay remains sound and should be reaffirmed.

Notwithstanding Plaintiffs’ awareness of the alleged fraud—and Mr. Andueza’s role as a “co-

conspirator” in the alleged fraud—Plaintiffs (though their General Counsel, Bert Diaz) still

willingly and knowingly executed the Amended Closing Statement on February 21, 2020. The

Court addressed this Amended Closing Statement already as follows in its Order denying

Plaintiffs’ Motion to Stay:

       On February 21, 2020, Convergen, CEW, Niantic, and L’Anse signed an Amended
       and Restated Closing Statement concerning the sale of the Pellet Plant from
       Convergen to Niantic and which made adjustments to the purchase price and credits
       due to Niantic. Dkt. No. 64-2. The agreement was signed by Defendant Merle on
       behalf of Niantic and CEW and by Bert Diaz (“Diaz”), general counsel to Libra, on
       behalf of Convergen and L’Anse. Id. at 3. That agreement “amends, restates and
       replaces in its entirety any prior closing statement relating to this transaction
       previously signed by [Niantic] and [Convergen].” Id. at 1.
Dkt. No. 109 at 3. In addition, the Amended Closing Statement states as follows:
       The Buyer and Seller agree that there will be no further adjustments or changes to
       this Amended and Restated Closing Statement after the date hereof, as both Parties
       have confirmed that this document is now complete and accurate in all regards.

       By signing this Amended and Restated Closing Statement, each Party confirms and
       ratifies that the Closing was completed on the Closing Date.

       Other than as expressly modified pursuant to this Amended and Restated Closing
       Statement, all of the terms, conditions and other provisions of the Acquisition



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       Agreement and the O&M Agreement are hereby ratified and confirmed and shall
       continue to be in full force and effect in accordance with their respective terms.

Dkt. No. 64-2 at 2.

       Thus, at a time when Plaintiffs were aware of Mr. Andueza’s role as “co-conspirator”—

and had already investigated his conduct—Plaintiffs still voluntarily reaffirmed and closed the sale

of CEW a second time. Moreover, CE represented and warranted to Niantic in the Amended

Closing Statement that there was no basis for any litigation or investigation of Brooks, Hansen,

Mikkelson, CE or CEW. See also Acquisition Agreement, ECF No. 92-2, § 8.2(c)(i) (CE’s

representation in § 2.16 that there was no basis for litigation is classified by the parties as one of

the “Fundamental Representations” of the Acquisition Agreement).

       Moreover, as the Court has already observed, Plaintiffs’ subsequent conduct further

established that Plaintiffs considered the Supply Agreement to be valid, and continued to perform

their obligations under it notwithstanding Mr. Andueza’s known role as a “co-conspirator”:

       Assuming the truth of its allegations, L’Anse had the option to refuse or assume the
       Supply Agreement. It has chosen to take delivery under the agreement. Thus, even
       accepting Plaintiffs’ version of events, the Supply Agreement was formed and
       exists. See, e.g., Ipcon, 698 F.3d at 62 (“The contracts are each clear on their face
       as to the obligations of the parties, and both parties duly executed the contracts,
       indicating that they understood their obligations. [Plaintiff] does not allege that the
       parties had differing contemplations of their obligations under the contracts, or that
       the parties defined key terms of the contracts in differing manners.”).
Dkt. No. 109 at 11.4



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  Unlike here, where Plaintiffs continued to perform on the supply contract—and accept its
benefits—even after they knew of their agent’s (Andueza’s) alleged “co-conspirator” role,
Plaintiffs’ cited cases do not involve similar facts or contracts. See, e.g., Sphere Drake Ins. Ltd. v.
Clarendon Nat. Ins. Co., 263 F.3d 26, 28 (2d Cir. 2001) (party unilaterally disavowed its
obligations under various reinsurance contracts once it had discovered they were fraudulently
induced); Stevenson v. Tyco Int’l, 2006 WL 2827635, at *7 (S.D.N.Y. Sept. 29, 2006) (party
presented insufficient evidence as to whether agent acted outside his authority in signing an
employee retention agreement); see also Woodstock Iron Co. v. Richmond & D. Extension, Co.,
129 U.S. 643 (1889) (railroad extension contract); Hidden Brook Air, Inc. v. Thabat Aviation Int’l


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       Plaintiffs now make the surprising claim that “L’Anse did not accept delivery under the

supply agreement” and, in support, provide an affidavit from Camilo Patrignani wherein he claims

L’Anse changed the way it ordered pellets from CEW “in conjunction with filing this lawsuit.”

Mot. at 9-10; Decl. of C. Patrignani at ¶¶ 4-6. However, this affidavit—which was not requested

by the Court pursuant to Local Civil Rule 6.3 and which has no documentary support—also does

not undermine the validity of the Court’s ruling because the January 31, 2020 Supply Agreement

was honored by the parties for several months after execution, notwithstanding Plaintiffs’

knowledge of the alleged “fraudulent scheme” of Defendants and “co-conspirator” Mr. Andueza.

If Defendants had, in fact, stopped “taking delivery” under the specific terms of the Supply

Agreement—though Mr. Patrignani essentially admits they continued taking delivery of pellets

following the filing of this action—that event preceded Plaintiffs’ filing of the Motion to Stay.

Accordingly, Plaintiffs have waived their opportunity to now raise this argument in purported

support of their Motion to Stay. Again, a motion for reconsideration is not “an opportunity for

making new arguments that could have been previously advanced.” Associated Press v. U.S. Dep't

of Def., 395 F. Supp. 2d 17, 19 (S.D.N.Y. 2005).

                                        CONCLUSION

       For the reasons set forth herein, Plaintiffs’ Motion for Reconsideration should be denied.




Inc., 241 F. Supp. 2d 246 (S.D.N.Y. 2002) (airplane purchase agreement); Meade v. Brothers, 28
Wis. 689 (1871) (land deed); Manhattan Life Ins. Co. v. Forty Second & G. St. Ferry R. Co., 139
N.Y. 146, 151 (1893) (forged stock certificate).


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Dated this 2nd day of September, 2020.
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